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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                            ALBANY DIVISION

MAJORITY FORWARD; GAMALIEL
WARREN TURNER, SR.; and DEBRA
LEWIS,

                    Plaintiffs,



BEN HILL COUNTY BOARD OF                      Civ. Act. File No. l:20-cv-266-LAG
ELECTIONS; CINDI DUNLAP, in her official
capacity as Ben Hill County Elections
Supervisor and Chief Registrar; THOMAS
GREEN, in his official capacity as MEMBER
of the Ben Hill County Board of Elections;
DAVID WALKER, in his official capacity as
MEMBER of the Ben Hill County Board of
Elections; DANNY YOUNG, in his official
capacity as MEMBER of the Ben Hill County
Board of Elections; GUDRUN MILLS, in his
official capacity as MEMBER of the Ben Hill
County Board of Elections; PENSON
KAMINSKY, in his official capacity as
MEMBER of the Ben Hill County Board of
Elections; MUSCOGEE COUNTY BOARD
OF ELECTIONS AND REGISTRATION;
NANCY BOREN, in her official capacity as
Muscogee County Director of Elections &
Registration; MARGARET JENKINS, in her
official capacity as MEMBER of the Muscogee
County Board of Elections and Registration;
UHLAND ROBERTS, in his official capacity
as MEMBER of the Muscogee County Board
of Elections and Registration; DIANE
SCRIMPSHIRE, in her official capacity as
MEMBER of the Muscogee County Board of
Elections and Registration; LINDA PARKER,
in her official capacity as MEMBER of the
Muscogee County Board of Elections and
Registration; and ELEANOR WHITE, in her
official capacity as MEMBER of the Muscogee
County Board of Elections and Registration,

                    Defendants
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   ANSWER OF BEN HILL COUNTY DEFENDANTS TO PLAINTIFFS' AMENDED
    AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


        COME NOW, BEN HILL COUNTY BOARD OF ELECTIONS; CINDI DUNLAP, iN

her official capacity as Ben Hill County Elections Supervisor and Chief Registrar; THOMAS

GREEN, in his official capacity as MEMBER of the Ben Hill County Board of Elections;

DAVID WALKER, in his official capacity as MEMBER of the Ben Hill County Board of

Elections; DANNY YOUNG, in his official capacity as MEMBER of the Ben Hill County Board

of Elections; GUDRUN MILLS, in her official capacity as MEMBER of the Ben Hill County

Board of Elections; PENSON KAMINSKY, in his official capacity as MEMBER of the Ben Hill

County Board of Elections, Defendants in the above-styled civil action (hereinafter referred to as

"Defendants"), and file this, their Answer to Plaintiffs' Amended Complaint for Declaratory and

Injunctive Relief, and shows the Court the following:

                                         FIRST DEFENSE

        Defendants alleges that Plaintiffs'Amended Complaint fails to state a claim upon which

relief can be granted in that it fails to allege facts sufficient to support the claims asserted therein

in conformance with the pleading standards set forth in Ashcroft v. Iqbal, I29 S.Ct. 1937 (2009)

and Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2001).

                                        SECOND DEFENSE

        Plaintiffs' claims are moot.

                                         THIRD DEFENSE

        Plaintiffs lack standing to assert the claims contained in the Amended Cornplaint




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                                      FOURTH DEFENSE

       Defendants are entitled to imrnunity under the Eleventh Amendment of the Constitution

of the United States

                                        FIFTH DEFENSE

       Plaintiffs are not entitled to injunctive relief because they have failed to prove the

essential elements.

                                        SIXTH DEFENSE

       Plaintiff s claims are barred or abated substantially by the doctrine of unclean hands.

                                      SEVENTH DEFENSE

       Plaintifls claims are barred by the doctrine of laches.

                                      EIGHTH DEFENSE

       Defendants are improper parties to this cause of action.

                                       NINTH DEFENSE

       Defendants are entitled to sovereign immunity.

                                       TENTH DEFENSE

       To the extent Plaintiffs assefied federal law claims against Defendants in their individual

capacities, Defendants are entitled to qualified immunity.

                                     ELEVENTH DEFENSE

       To the extent Plaintiffs asserted state law claims against Defendants in their individual

capacities, Defendants are entitled to official immunity.

                                     TWELFTH DEFENSE

       Defendants are entitled to legislative immunity.




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                                  THIRTEENTH DEFENSE

       Defendants are entitled to absolute quasi-judicial immunity

                                  FOURTEENTH DEFENSE

       To the extent as may be shown through discovery and not known by Defendants at the

time of this answer, Defendants asseft the affirmative defenses set forth in Fed. R. Civ. P. 8(c)

and 12(b), and none are waived.

                                   FIFTEENTH DEFENSE

       For response to the individually numbered paragraphs of Plaintiffs' Amended Complaint,

Defendants show as follows:

                                      INTRODUCTION

       1. Defendants admit that Plaintiffs bring this action. The remaining allegations
           contained in Paragraph 1 of Plaintiffs'Amended Complaint are denied.

       2. The allegations contained in Paragraph 2 of Plaintiffs' Amended Complaint are
           denied.

       3. The allegations contained in Paragraph 3 of Plaintiffs Amended Complaint are
           denied.

       4. The allegations contained in Paragraph 4 of Plaintiffs' Amended Complaint are
           denied.

       5. The allegations contained in Paragraph 5 of Plaintiffs' Amended Complaint are
           denied.

       6. The allegations contained in Paragraph 6 of Plaintiffs' Amended Complaint are
           denied.




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7. The allegations contained in Paragraph 7 of Plaintiffs' Arnended Complaint are
       denied.

                                       PARTIES

8. Defendants are without suffrcient knowledge or information to form a belief as to the
       truth of the allegations contained in Paragraph 8 of Plaintiffs' Amended Complaint.

9. Defendants are without sufficient knowledge or information to form a belief as to the
       truth of the allegations contained in Paragraph 9 of Plaintiffs' Amended Complaint.

10. Defendants are without sufficient knowledge or information to form a belief as to the

       truth of the allegations contained in Paragraph 10 of Plaintiffs' Amended Complaint.

1 1.   The allegations contained in Paragraph 1 1 of Plaintiffs' Amended Complaint are

       admitted.

12. The allegations contained in Paragraph 12 of Plaintiffs' Amended Complaint are

       admitted.

13. The allegations contained in Paragraph 13 of Plaintiffs' Amended Complaint are

       admitted.

14. The allegations contained in Paragraph 14 of Plaintiffs' Amended Complaint are

       admitted.

15.The allegations contained in Paragraph 15 of Plaintiffs' Amended Complaint are

       admitted.

16. The allegations contained in Paragraph 16 of Plaintiffs' Amended Complaint are

       admitted.

17. The allegations contained in Paragraph 17 of Plaintiffs' Amended Complaint are

       admitted.



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18. Defendants are without sufficient knowledge or infonnation to fonn a belief as to the

   huth of the allegations contained in Paragraph 18 of Plaintiffs' Arnended Complaint.

19. Defendants are without sufficient knowledge or infonnation to form a belief as to the

   truth of the allegations contained in Paragraph 19 of Plaintiffs' Amended Complaint.

20. Defendants are without suffrcient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 20 of Plaintiffs' Amended Complaint.

21. Defendants are without sufficient knowledge or infonnation to form a belief as to the

   truth of the allegations contained in Paragraph 21 of Plaintiffs' Amended Complaint.

22. Defendants are without sufficient knowledge or information to fonn a belief as to the

   truth of the allegations contained in Paragraph22 of Plaintiffs' Amended Complaint.

23. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 23 of Plaintiffs' Amended Complaint.

24.Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph24 of Plaintiffs' Amended Complaint.

                          JURISDICTION AND VENUE

25.The allegations contained in Paragraph 25 of Plaintiffs' Amended Complaint are

   admitted.

26.The allegations contained in Paragraph 26 of Plaintiffs' Arnended Cornplaint are

   denied.

27 . The allegations   contained in Paragraph   2l of Plaintiffs' Amended Complaint are
   denied.

28. The allegations contained in Paragraph 28 of Plaintiffs' Amended Complaint are

   admitted.



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                         FACTUAL BACKGROUND

29.The allegations contained in Paragraph29 contain characterizations of Georgia and/or

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph29 and deny any liability.

30. The allegations contained in Paragraph 30 contain characterizations of Georgia and/or

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 30 and deny any liability.

31 . The allegations contained in Paragraph 31 contain characterizations of Georgia and/or


   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 31 and deny any liability.

32.The allegations contained in Paragraph32 contain characterizations of Georgia andlor

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph32 and deny any liability.

33. The allegations contained in Paragraph 33 of Plaintiffs' Amended Complaint are

   denied.

34. The allegations contained in Paragraph 34 contain characterizations of Georgia and/or

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for thernselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 34 and deny any liability.



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35. The allegations contained in Paragraph 35 contain characterizations of Georgia andlor

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for thernselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 35 and deny any liability.

36. The allegations contained in Paragraph 36 contain characterizations of Georgia and/or

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 36 and deny any liability.

37. The allegations contained in Paragraph 37 of Plaintiffs' Amended Complaint are

   denied.

38. The allegations contained in Paragraph 38 contain characterizations of Georgia and/or

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 38 and deny any liability.

39. The allegations contained in Paragraph 39 of Plaintiffs' Amended Complaint are

   denied.

40. The allegations contained in Paragraph 40 contain characterizations of federal law

   and legal conclusions to which no response is required. The provisions and text of

   the cited laws speak for thernselves. To the extent any response may be required, Ben

   Hill County Defendants deny the allegations in these paragraphs in the form alleged

   and deny any liability therefor.

41. The allegations contained in Paragraph 41 of Plaintiff s Amended Cornplaint are

     denied.



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42. The allegations contained in Paragraph 42 of Plaintiffs' Arnended Complaint are
      denied

43. The allegations contained in Paragraph 43 of Plaintiffs'Amended Complaint contain

      Plaintiffs' characteization and interpretation of the NVRA to which no response is

      required. The provisions and text of 52 U.S.C. $ 20507(d)(1) speak for themselves.

      Except as expressly responded to or qualified herein, the allegations set forth in this

      paragraph are denied as is any liability therefor.

44. The allegations contained in Paragraph 44 of Plaintiffs' Amended Complaint are

      denied.

45. The allegations contained in Paragraph 45 of Plaintiffs' Amended Complaint contain

      Plaintiffs' characteization of Georgia law and legal conclusions to which no response

      is required. The provisions and text of the cited laws speak for themselves. To the

      extent any response may be required, Ben Hill County Defendants deny the

      allegations in these paragraphs in the form alleged and deny any liability therefor.

46. The allegations contained in Paragraph 46 of Plaintiffs' Amended Complaint
      contain Plaintiffs' characterization of Georgia law and legal conclusions to which no

      response is required. The provisions and text of the cited laws speak for themselves.

      To the extent any response may be required, Ben Hill County Defendants deny the

      allegations in these paragraphs in the form alleged and deny any liability therefor.

47   . The allegations contained in Paragraph 4l of Plaintiffs' Amended Complaint contain
      Plaintiffs' characterization of Georgia law and legal conclusions to which no response

      is required. The provisions and text of the cited laws speak for themselves. To the




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   extent any response rnay be required, Ben Hill County Defendants deny the

   allegations in these paragraphs in the form alleged and deny any liability therefor.

48. The allegations contained in Paragraph 48 of Plaintiffs' Amended Cornplaint contain

   Plaintiffs' characterization of Georgia law and legal conclusions to which no response

   is required. The provisions and text of the cited laws speak for themselves. To the

   extent any response may be required, Ben Hill County Defendants deny the

   allegations in these paragraphs in the form alleged and deny any liability therefor.

49.The allegations contained in Paragraph 49 of Plaintiffs' Amended Complaint contain

   Plaintiffs' chnacterization of Georgia law and legal conclusions to which no response

   is required. The provisions and text of the cited laws speak for themselves. To the

   extent any response may be required, Ben Hill County Defendants deny the

   allegations in these paragraphs in the form alleged and deny any liability therefor.

50. The allegations contained in Paragraph 50 of Plaintiffs' Amended Complaint contain

   Plaintiffs' cltaracteization of Georgia law and legal conclusions to which no response

   is required. The provisions and text of the cited laws speak for themselves. To the

   extent any response may be required, Ben Hill County Defendants deny the

   allegations in these paragraphs in the form alleged and deny any liability therefor.

51. The allegations contained in Paragraph 51 of Plaintiffs' Amended Complaint contain

   Plaintiffs' characterrzation of Georgia law and legal conclusions to which no response

   is required. The provisions and text of the cited laws speak for themselves. To the

   extent any response may be required, Ben Hill County Defendants deny the

   allegations in these paragraphs in the form alleged and deny any liability therefor.




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52. The allegations contained in Paragraph 52 of Plaintiffs' Amended Cornplaint are

   adrnitted.

53. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 53 of Plaintiffs' Amended Complaint.

54. Defendants are without sufficient knowledge or information to fonn a belief as to the

   truth of the allegations contained in Paragraph 54 of Plaintiffs' Amended Complaint.

55. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 55 of Plaintiffs' Amended Complaint.

56. Defendants are without sufficient knowledge or information to fonna belief as to the

   truth of the allegations contained in Paragraph 56 of Plaintiffs' Amended Complaint.

57. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 57 of Plaintiffs' Amended Complaint.

58. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 58 of Plaintiffs' Amended Complaint.

59. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 59 of Plaintiffs' Amended Complaint.

60. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 60 of Plaintiffs' Arnended Complaint.

61. Defendants are without sufficient knowledge or information to fonn a belief as to the

   truth of the allegations contained in Paragraph 61 of Plaintiffs' Amended Complaint.

62. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in the first sentence of this paragraph. The

   allegations in the second sentence of this paragraph contain characterizations of



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   Georgia law and legal conclusions to which no response is required. To the extent

   any response may be required, Defendants deny the allegations contained in

   Paragraph 62 of Plaintiffs' Amended Complaint.

63. Defendants are without sufficient knowledge or infonnation to form a belief as to the

   truth of the allegations contained in Paragraph 63 of Plaintiffs' Amended Complaint.

64. The allegations contained in Paragraph 64 of Plaintiffs' Amended Complaint are

   denied.

65. The allegations contained in Paragraph 65 of Plaintiffs' Amended Complaint are

   admitted.

66. The allegations contained in Paragraph 66 of Plaintiffs' Amended Complaint are

   admitted.

67.The allegations contained in Paragraph 61 of Plaintiffs' Amended Complaint are

   admitted.

68. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 68 of Plaintiffs' Amended Complaint.

69. The allegations contained in Paragraph 69 of Plaintiffs' Amended Complaint are

   admitted.

70. The allegations contained in Paragraph 70 of Plaintiffs' Amended Complaint are

   admitted.

71. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 7l of Plaintiffs' Amended Complaint.

72. Defendants adrnit the allegations contained in Paragraph 72 except they deny that the

   number 328 is accurate.



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73.The allegations contained in Paragraph 73 of Plaintiffs' Amended Complaint are

   denied.

74,The allegations contained in Paragraph 74 of Plaintiffs' Amended Complaint are

   admitted.

75. The allegations contained in Paragraph 75 of Plaintiffs' Amended Complaint are

   denied.

76. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 76 of Plaintiffs' Amended Complaint.

77.Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in ParagraphTT of Plaintiffs' Amended Complaint.

78. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 78 of Plaintiffs' Amended Complaint.

79. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 79 of Plaintiffs' Amended Complaint.

80. The allegations contained in Paragraph 80 of Plaintiffs' Amended Complaint are

   denied.

81. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 81 of Plaintiffs' Amended Complaint.

82. Defendants are without sufficient knowledge or information to fonn a belief as to the

   truth of the allegations contained in Paragraph 82 of Plaintiffs' Amended Complaint.

83. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 83 of Plaintiffs' Amended Complaint.




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84. Defendants are without sufficient knowledge or information to fonn a belief as to the

   truth of the allegations contained in Paragraph 84 of Plaintiffs' Amended Cornplaint.

85. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 85 of Plaintiffs' Amended Complaint.

86. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 86 of Plaintiffs' Amended Complaint.

87. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 87 of Plaintiffs' Amended Complaint.

88. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 88 of Plaintiffs' Amended Complaint.

89. The allegations contained in Paragraph 89 contain characterizations of Georgia andlor

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 89 and deny any liability.

90. The allegations contained in Paragraph 90 contain characterizations of Georgia andlor

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 90 and deny any liability.

91. The allegations contained in Paragraph 91 contain characterizations of Georgia andlor

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 91 and deny any liability.




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92.The allegations contained in Paragraph 92 of Plaintiffs' Amended Complaint are

   denied.

93. Defendants are without sufficient knowledge or information to form a belief as to the

   truth of the allegations contained in Paragraph 93 of Plaintiffs' Amended Complaint.

                            CLAIMS FOR RELIEF

                                 COUNT I
                       National Voter Registration Act
                            s2 u.s.c. s 20s07(d)

94. The allegations contained in Paragraph 94 of Plaintiffs' Amended Complaint are

   denied.

95. The allegations contained in Paragraph 95 contain characterizations of Georgia andlor

   federal law and legal conclusions to which no response is required. The provision

   and text of the cited laws speak for themselves. To the extent a response is required,

   Defendants deny the allegations in Paragraph 95 and deny any liability.

96. The allegations contained in Paragraph 96 of Plaintiffs' Amended Complaint are

   denied.

91.The allegations contained in Paragraph 97 of Plaintiffs' Amended Complaint are

   denied.

98. The allegations contained in Paragraph 98 of Plaintiffs' Amended Complaint are

   denied.

                                 COUNT II
                       National Voter Registration Act
                             s2 U.S.C. $ 20s07(c)

99. The allegations contained in Paragraph 99 of Plaintiffs' Amended Cornplaint are

   denied



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100. The allegations contained in Paragraph 100 contain characterizations of Georgia

     and/or federal law and legal conclusions to which no response is required. The

     provision and text of the cited laws speak for themselves. To the extent a response

     is required, Defendants deny the allegations in Paragraph 100 and deny any

     liability.

101.The allegations contained in Paragraph 101 of Plaintiffs'Amended Complaint are

    denied.

102. The allegations contained in Paragraph 102 of Plaintiffs' Amended Complaint are

    denied.

                                 COUNT III
                    First Amendment and Equal Protection
                  U.S. Const. amends. I, XIV,42 U.S.C.$ 1983

103. The allegations contained in Paragraph 103 of Plaintiffs' Amended Complaint

    contain characteizations of Georgia and/or federal law and legal conclusions to

    which no response is required. The provision and text of the cited laws speak for

    themselves. To the extent a response is required, Defendants deny the allegations in

    Paragraph 103 and deny any liability.

104. The allegations contained in Paragraph 104 of Plaintiffs' Amended Complaint

     contain characterizations of Georgia and/or federal law and legal conclusions to

     which no response is required. The provision and text of the cited laws speak for

     themselves. To the extent a response is required, Defendants deny the allegations

     in Paragraph 104 and deny any liability.

105. The allegations contained in Paragraph 105 contain characterizations of Georgia

     andlor federal law and legal conclusions to which no response is required. The



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        provision and text of the cited laws speak for themselves. To the extent a response

        is required, Defendants deny the allegations in Paragraph 105 and deny any

        liability.

106. The allegations contained in Paragraph 106 of Plaintiffs' Amended Complaint are

        denied.

107. The allegations contained in Paragraph 107 of Plaintiffs' Amended Complaint are

        denied.

108. The allegations contained in Paragraph 108 of Plaintiffs' Amended Complaint are

         denied.

109. The allegations contained in Paragraph 109 of Plaintiffs' Amended Cornplaint are

         denied.

110. The allegations contained in Paragraph 110 of Plaintiffs'Amended Complaint are

          denied.

I 11. The allegations contained in Paragraph 1 11 of Plaintiffs' Amended Complaint are

        denied.

II2. The allegations contained in Paragraph 112 of Plaintiffs' Amended Complaint are
        denied.

I1   3. The allegations contained in Paragraph 13 of Plaintiffs' Amended Complaint are
                                                 1



        denied.

114. The allegations contained in Paragraph 114 of Plaintiffs' Amended Complaint are

        denied.

1   15. The allegations contained in Paragraph 1 15 contain characterizations of Georgia

        andlor federal law and legal conclusions to which no response is required. The



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               provision and text of the cited laws speak for thernselves. To the extent a response

               is required, Defendants deny the allegations in Paragraph 1 15 and deny any

               liability.

       116. The allegations contained in Paragraph 116 of Plaintiffs' Amended Complaint are

              denied.

       117. The allegations contained in Paragraph 1I7 of Plaintiff s Amended Cornplaint

               contain charactenzation and interpretation of law to which no response is required.

               Except as expressly responded to or qualified herein, the allegations set forth in this

               paragraph are denied as is any liability therefor.

       1   18. The allegations contained in Paragraph 1 18 of Plaintiffs' Amended Complaint are

               denied.

       Defendants hereby deny Plaintiffs'prayers for relief in Paragraphs 119 through 122 of

Plaintiffs' Amended Complaint.

                                        GENERAL DENIAL

       All other allegations set forth in Plaintiffs' Complaint and Amended Complaint not
specifically addressed above are hereby denied.

                                          JURY DEMAND

       Defendants demand a jury trial by a jury of twelve as to all issues so triable.

       WHEREFORE, having fully answered all allegations contained in the Amended

Complaint, Defendants pray for the following relief:

                 (a) that judgment be entered in favor of Defendants and against Plaintiffs;

                 (b) that the costs of these actions, including attorneys' fees, be cast against

                     Plaintiffs;



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              (c) that Defendants have a trial by a jury of twelve; and

              (d) that the Court grants such other and further relief as it may deem just and

                  proper.

      This 19tl' day of January, 2021 .

                                            HALL BOOTH SMITH, P.C.

                                            /s/ Anthonlz A. Rowell
                                            ANTHONY A. ROWELL
                                            Georgia Bar No.: 616930


                                            /s/ Nicholas A. Kinslelr
                                            NICHOLAS A. KINSLEY
                                            Georgia Bar No.: 273862


                                            /s/ Hank Pittman
                                            HANK PITTMAN
                                            Georgia Bar No.: 58127I

                                            Counsel for Defendants



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                                  CERTIFICATE OF SERVICE


           I hereby certify that I have this day served a copy of the within and foregoing ANSWER

OF BEN HILL COUNTY DEFENDANTS TO PLAINTIFFS' AMENDED AMENDED

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF with the Clerk of

Court using the CM/ECF system which will automatically send e-mail notification of such filing

to all counsel of record and pro se Plaintiffs, as well as by placing a copy of same in the United

States Mail, in envelopes with adequate postage affixed thereon to ensure delivery to all pro se

parties.




           This 19tr'day of January,202l

                                              HALL BOOTH SMITH, P.C.

                                              /s/ Nicholas A. Kinsley
                                              NICHOLAS A. KINSLEY
                                              Georgia Bar No.: 273862

                                               Counsel for Defendants
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(229) 382-0s1s
nkinsley@hal lboothsrnith. com




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